B22C (Official Form 22C) (Chapter 13) (01/08)

        Eugene Tyrone Alwine                                                                  According to the calculations required by this statement:
 In re  Bobbi Lee Alwine                                                          The applicable commitment period is 3 years.
               Debtor(s)                                                          The applicable commitment period is 5 years.
 Case Number:  09-39313-rld13
                                                                                  Disposable income is determined under § 1325(b)(3).
                      (If known)
                                                                                  Disposable income is not determined under § 1325(b)(3).
                                                                                (Check the boxes as directed in Lines 17 and 23 of this statement.)


                       CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                 AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.
                                                                            Part I. REPORT OF INCOME
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1        a.  Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
              b.     Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
              All figures must reflect average monthly income received from all sources, derived during the six Column A                                  Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before
              the filing. If the amount of monthly income varied during the six months, you must divide the     Debtor's                                  Spouse's
              six-month total by six, and enter the result on the appropriate line.                              Income                                   Income

     2        Gross wages, salary, tips, bonuses, overtime, commissions.                                                        $            0.00 $            500.00
              Income from the operation of a business, profession, or farm. Subtract Line b from Line a and
              enter the difference in the appropriate column(s) of Line 3. If you operate more than one business,
              profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
              number less than zero. Do not include any part of the business expenses entered on Line b as
     3        a deduction in Part IV.
                                                                          Debtor                 Spouse
               a.     Gross receipts                               $           1,741.00 $             1,420.00
               b.     Ordinary and necessary business expenses $                   0.00 $                  0.00
               c.     Business income                              Subtract Line b from Line a                    $                     1,741.00 $           1,420.00
              Rents and other real property income. Subtract Line b from Line a and enter the difference in
              the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
              part of the operating expenses entered on Line b as a deduction in Part IV.
     4                                                                  Debtor                Spouse
               a.    Gross receipts                               $              0.00 $                 0.00
               b.    Ordinary and necessary operating expenses $                 0.00 $                 0.00
               c.    Rent and other real property income          Subtract Line b from Line a                                   $            0.00 $                0.00
     5        Interest, dividends, and royalties.                                                                               $            0.00 $                0.00
     6        Pension and retirement income.                                                                                    $            0.00 $                0.00
              Any amounts paid by another person or entity, on a regular basis, for the household
     7        expenses of the debtor or the debtor's dependents, including child support paid for that
              purpose. Do not include alimony or separate maintenance payments or amounts paid by the
              debtor's spouse.                                                                                                  $            0.00 $                0.00
              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8        or B, but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act Debtor $                        755.00 Spouse $               0.00 $               0.00 $                0.00




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                                  Best Case Bankruptcy



                                                   Case 10-31675-rld13                      Doc 12        Filed 11/25/09
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                                               2

              Income from all other sources. Specify source and amount. If necessary, list additional sources
              on a separate page. Total and enter on Line 9. Do not include alimony or separate
              maintenance payments paid by your spouse, but include all other payments of alimony or
              separate maintenance. Do not include any benefits received under the Social Security Act or
     9        payments received as a victim of a war crime, crime against humanity, or as a victim of
              international or domestic terrorism.
                                                                      Debtor                    Spouse
               a.                                             $                        $
               b.                                             $                        $                      $                   0.00 $                 0.00
    10        Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9
              in Column B. Enter the total(s).                                                               $                 1,741.00 $          1,920.00
    11        Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter
              the total. If Column B has not been completed, enter the amount from Line 10, Column A.        $                                    3,661.00

                                      Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
    12        Enter the amount from Line 11                                                                                           $            3,661.00
              Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
              calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
              enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for
              the household expenses of you or your dependents and specify, in the lines below, the basis for excluding this
              income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
    13        debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
              on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
               a.                                                                           $
               b.                                                                           $
               c.                                                                           $
              Total and enter on Line 13                                                                                              $                  0.00
    14        Subtract Line 13 from Line 12 and enter the result.                                                                     $            3,661.00

    15        Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
              enter the result.                                                                                                       $          43,932.00
              Applicable median family income. Enter the median family income for applicable state and household size. (This
    16        information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

               a. Enter debtor's state of residence:                       OR          b. Enter debtor's household size:   2          $          56,019.00
              Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                    The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is 3 years" at the
    17              top of page 1 of this statement and continue with this statement.
                    The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period is 5 years"
                    at the top of page 1 of this statement and continue with this statement.
                                  Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
    18        Enter the amount from Line 11.                                                                                          $            3,661.00
              Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total of
              any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of the
              debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B income(such as
              payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
              dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on a
    19        separate page. If the conditions for entering this adjustment do not apply, enter zero.
               a.                                                                           $
               b.                                                                           $
               c.                                                                           $
              Total and enter on Line 19.                                                                                             $                  0.00
    20        Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                            $            3,661.00




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                        Best Case Bankruptcy



                                                   Case 10-31675-rld13                    Doc 12        Filed 11/25/09
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                                            3

    21        Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
              enter the result.                                                                                                      $        43,932.00
    22        Applicable median family income. Enter the amount from Line 16.                                                        $        56,019.00
              Application of § 1325(b)(3). Check the applicable box and proceed as directed.
                    The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined under §
    23              1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
                    The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not determined under §
                    1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.

                                     Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                                     Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, apparel and services, housekeeping supplies, personal care, and miscellaneous.
   24A        Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living Expenses for the
              applicable household size. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
              bankruptcy court.)                                                                                                     $
              National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
              Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
              Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of your
              household who are under 65 years of age, and enter in Line b2 the number of members of your household who are
              65 years of age or older. (The total number of household members must be the same as the number stated in Line
              16b.) Multiply Line a1 by Line b1 to obtain a total amount for household members under 65, and enter the result in
   24B        Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members 65 and older, and enter the
              result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 24B.
               Household members under 65 years of age                                 Household members 65 years of age or older
               a1.      Allowance per member                                           a2.   Allowance per member
               b1.      Number of members                                              b2.   Number of members
               c1.      Subtotal                                                       c2.   Subtotal                                $
              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
   25A        Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                            $
              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
              Housing and Utilities Standards; mortgage/rent expense for your county and household size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
              Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter
   25B        the result in Line 25B. Do not enter an amount less than zero.
               a.      IRS Housing and Utilities Standards; mortgage/rent Expense                   $
               b.      Average Monthly Payment for any debts secured by your
                       home, if any, as stated in Line 47                                           $
               c.      Net mortgage/rental expense                                                  Subtract Line b from Line a.     $
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and
              25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    26        Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
              contention in the space below:
                                                                                                                                     $
              Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
              expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
              regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
   27A        included as a contribution to your household expenses in Line 7. 0        1      2 or more.
              If you checked 0, enter on Line 27A the "Public Transportation" amount from IRS Local Standards:
              Transportation. If you checked 1 or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS Local
              Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
              Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)          $

Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy



                                                   Case 10-31675-rld13                       Doc 12       Filed 11/25/09
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                                               4

              Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
              for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   27B        your public transportation expenses, enter on Line 27B the "Public Transportation" amount from the IRS Local
              Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
              court.)                                                                                                                $
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
              you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
              vehicles.)   1     2 or more.
              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    28        Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter
              the result in Line 28. Do not enter an amount less than zero.
               a.      IRS Transportation Standards, Ownership Costs                      $
                       Average Monthly Payment for any debts secured by Vehicle
               b.      1, as stated in Line 47                                            $
               c.      Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.                  $
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
              the "2 or more" Box in Line 28.
              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    29        Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter
              the result in Line 29. Do not enter an amount less than zero.
               a.      IRS Transportation Standards, Ownership Costs                      $
                       Average Monthly Payment for any debts secured by Vehicle
               b.      2, as stated in Line 47                                            $
               c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.                  $
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    30        state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
              security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                            $
              Other Necessary Expenses: mandatory deductions for employment. Enter the total average monthly payroll
    31        deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
              uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                              $
              Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
    32        life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
              any other form of insurance.                                                                                              $
              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    33        pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
              include payments on past due obligations included in line 49.                                                             $
              Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
    34        the total average monthly amount that you actually expend for education that is a condition of employment and for
              education that is required for a physically or mentally challenged dependent child for whom no public education
              providing similar services is available.                                                                          $

    35        Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
              childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.             $
              Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on health
    36        care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance
              or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do not include
              payments for health insurance or health savings accounts listed in Line 39.                                               $
              Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
    37        actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
              pagers, call waiting, caller id, special long distance, or internet service-to the extent necessary for your health and
              welfare or that of your dependents. Do not include any amount previously deducted.                                        $
    38        Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                       $

                                               Subpart B: Additional Living Expense Deductions
                                      Note: Do not include any expenses that you have listed in Lines 24-37

Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                        Best Case Bankruptcy



                                                   Case 10-31675-rld13                 Doc 12    Filed 11/25/09
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                                           5

              Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
              the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
              dependents..
    39         a.         Health Insurance                                             $
               b.         Disability Insurance                                         $
               c.         Health Savings Account                                       $
              Total and enter on Line 39                                                                                            $

              If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
              below:
              $
              Continued contributions to the care of household or family members. Enter the total average actual monthly
    40        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
              ill, or disabled member of your household or member of your immediate family who is unable to pay for such
              expenses. Do not include payments listed in Line 34.                                                                  $
              Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    41        actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or other
              applicable federal law. The nature of these expenses is required to be kept confidential by the court.              $
              Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
    42        Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
              trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
              claimed is reasonable and necessary.                                                                            $
              Education expenses for dependent children under 18. Enter the total average monthly expenses that you
              actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or secondary
    43        school by your dependent children less than 18 years of age. You must provide your case trustee with
              documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
              necessary and not already accounted for in the IRS Standards.                                                         $
              Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    44        Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
              or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
              reasonable and necessary.                                                                                             $
              Charitable contributions. Enter the amount reasonably necessary for you to expend each month on charitable
    45        contributions in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. §
              170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                               $
    46        Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                           $




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy



                                                   Case 10-31675-rld13                     Doc 12   Filed 11/25/09
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                                             6


                                                              Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that you
              own, list the name of creditor, identify the property securing the debt, state the Average Monthly Payment, and
    47        check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
              scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
              case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
              Payments on Line 47.
                     Name of Creditor                Property Securing the Debt                    Average          Does payment
                                                                                                   Monthly          include taxes
                                                                                                   Payment          or insurance
                a.                                                                             $                       yes no
                                                                                                Total: Add Lines                      $
              Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence, a
              motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    48        your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
              payments listed in Line 47, in order to maintain possession of the property. The cure amount would include any
              sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
              the following chart. If necessary, list additional entries on a separate page.
                     Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
                a.                                                                              $
                                                                                                                Total: Add Lines      $
              Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    49        priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
              not include current obligations, such as those set out in Line 33.                                                      $
              Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
              resulting administrative expense.

               a.       Projected average monthly Chapter 13 plan payment.                      $
    50         b.       Current multiplier for your district as determined under schedules
                        issued by the Executive Office for United States Trustees. (This
                        information is available at www.usdoj.gov/ust/ or from the clerk of
                        the bankruptcy court.)                                                  x
               c.       Average monthly administrative expense of Chapter 13 case               Total: Multiply Lines a and b         $
    51        Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                              $

                                                             Subpart D: Total Deductions from Income
    52        Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                           $

                             Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
    53        Total current monthly income. Enter the amount from Line 20.                                                            $
              Support income. Enter the monthly average of any child support payments, foster care payments, or disability
    54        payments for a dependent child, reported in Part I, that you received in accordance with applicable nonbankruptcy
              law, to the extent reasonably necessary to be expended for such child.                                                  $
              Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
    55        wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required repayments of
              loans from retirement plans, as specified in § 362(b)(19).                                                            $
    56        Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                       $




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                      Best Case Bankruptcy



                                                   Case 10-31675-rld13                 Doc 12   Filed 11/25/09
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                                                           7

              Deduction for special circumstances. If there are special circumstances that justify additional expenses for which
              there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines a-c below.
              If necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57. You must
              provide your case trustee with documentation of these expenses and you must provide a detailed explanation
              of the special circumstances that make such expense necessary and reasonable.
    57                 Nature of special circumstances                                                      Amount of Expense
               a.                                                                                           $
               b.                                                                                           $
               c.                                                                                           $
                                                                                                            Total: Add Lines                       $

    58        Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter the
              result.                                                                                                                              $
    59        Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                                    $

                                                           Part VI. ADDITIONAL EXPENSE CLAIMS
              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
              of you and your family and that you contend should be an additional deduction from your current monthly income under §
              707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
              each item. Total the expenses.

    60                 Expense Description                                                                                      Monthly Amount
               a.                                                                                                $
               b.                                                                                                $
               c.                                                                                                $
               d.                                                                                                $
                                                                           Total: Add Lines a, b, c and d        $
                                                                              Part VII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                            Date: November 24, 2009                                       Signature: /s/ Eugene Tyrone Alwine
                                                                                                       Eugene Tyrone Alwine
    61                                                                                                            (Debtor)

                                 Date:      November 24, 2009                                        Signature       /s/ Bobbi Lee Alwine
                                                                                                                      Bobbi Lee Alwine
                                                                                                                               (Joint Debtor, if any)




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                                    Best Case Bankruptcy



                                                   Case 10-31675-rld13                      Doc 12          Filed 11/25/09
